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 1 JOHN W. MILLS                                          JOSEPH F. LAVIGNE
   (CA State Bar No. 149861)                              (admitted pro hac vice)
 2 JONES WALKER, LLP                                      JONES WALKER LLP
   3455 PEACHTREE ROAD NE,                                201 ST. CHARLES AVE
 3 SUITE 1400                                             SUITE 4700
   ATLANTA, GA 30326                                      NEW ORLEANS, LA 70170
 4 TELEPHONE: 404-870-7517                                TELEPHONE: 504-582-8610
   FACSIMILE: 404-870-7533                                FACSIMILE: 504-589-8610
 5
     jmills@joneswalker.com                               jlavigne@joneswalker.com
 6

 7
     Attorney for Defendants
 8

 9                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
10

11
     GARY BAKER, an individual          )
12                                      ) Case No. 2:23cv10611
                 Plaintiffs,            )
13                                      ) DEFENDANTS’ REPLY TO
          vs.                           ) PLAINTIFF’S OPPOSITIONT TO
14                                      ) MOTION TO DISMISS/TRANSFER
     CINAMAKER, INC., a corporation,    ) VENUE
15   BENJAMIN NOWAK, an individual, and )
     DOES 1 through 10, inclusive       ) Date: February 9, 2024
16                                      ) Time: 1:30 PM
     Defendants.                        ) Ctrm: 6B
17                                      )
                                        )
18                                      )
                                        )
19                                      )
20

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26

27                                                                            EXHIBIT
28                                                                                  A
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                    REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS/TRANSFER
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 1 IN THE UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 2

 3
     GARY BAKER, an individual          )
 4                                      ) Case No. 2:23cv10611
                 Plaintiffs,            )
 5                                      ) DEFENDANTS’ REPLY TO
          vs.                           ) PLAINTIFF’S OPPOSITIONT TO
 6                                      ) MOTION TO DISMISS/TRANSFER
     CINAMAKER, INC., a corporation,    ) VENUE
 7   BENJAMIN NOWAK, an individual, and )
     DOES 1 through 10, inclusive       ) Date: February 9, 2024
 8                                      ) Time: 1:30 pm
     Defendants.                        ) Ctrm: 6B
 9                                      )
                                        ) Complaint Filed: DECEMBER 11,
10                                      ) 2023
                                        )
11                                      )

12
                     MEMORANDUM OF POINTS AND AUTHORITIES
13
         I. Introduction
14

15           This Court should dismiss this action, or in the alternative, transfer venue
16 because (1) the Northern District of Georgia is a more appropriate venue; (2) this

17
     Court lacks personal jurisdiction over Defendant Nowak; and (3) the first-to-file rule
18

19 requires this action to be transferred to the Northern District of Georgia. All of
20 Plaintiff’s claims arise out of conduct that occurred in Georgia, i.e., the Offer

21
     Memorandum and alleged defamatory conduct. Furthermore, this Court does not have
22

23 personal jurisdiction over Defendant Nowak, as Plaintiff fails to carry its burden of

24
     proof to establish that personal jurisdiction exists. More importantly, Defendant
25
     Cinamaker was the first to file suit arising out of the Offer Memorandum due to the
26

27 dispute over Plaintiff’s deferred compensation and Plaintiff’s failure to return

28
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 1 Cinamaker’s equipment after several demands. For these reasons, this action should

 2
     be dismissed, or in the alternative, transferred to the Northern District of Georgia.
 3

 4       II. This Court Does Not have Personal Jurisdiction Over Nowak

 5           Plaintiff bears the burden to demonstrate that personal jurisdiction is
 6
     appropriate over a defendant. Schwarzenegger v. Fred Martin Motor Co., 374 F.3d
 7

 8 797, 800 (9th Cir. 2004). Plaintiff must show (1) that the non-resident defendant

 9 performed an act by which he purposefully availed himself of the privilege of
10
     conducting activities in the forum and (2) plaintiff’s claim must arise out of or relate
11

12 to the defendant’s forum-related activities. Id. at 802. It is only after Plaintiff carries

13 its burden that the burden then shifts to Defendant to prove that the exercise of

14
     jurisdiction does not comport with fair play and substantial justice. Id. Defendants
15

16 need not prove its burden, however, because Plaintiff fails to show that this court has

17 jurisdiction over Defendant Nowak.

18
             Plaintiff provides zero facts, or even allegations, related to Nowak stepping
19
20 foot in the State of California. “A showing that a defendant purposefully availed

21 himself of the privilege of doing business in a forum state typically consists of

22
     evidence of the defendant’s actions in the forum, such as executing or performing a
23

24 contract there.” Id. Nowak signed the Offer Memorandum on behalf of a Georgia

25 corporation, in Georgia, not California. (See Exhibit 1 - Nowak Declaration) The

26
     contract did not obligate Nowak to perform or direct any activities in California; only
27

28 Cinamaker had obligations under the contract. Plaintiff does not point to a single
                                                   3
                    REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS/TRANSFER
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 1 instance where Nowak, as an individual, availed himself to the privileges of

 2
     conducting activities in California because there simply is no existence of such an
 3

 4 instance. The contract Plaintiff relies on for his breach of contract claim was executed

 5 in Georgia. Even when Plaintiff points out that the agreement was signed by Nowak,

 6
     on behalf of Cinamaker, he still failed to demonstrate that Nowak performed an act in
 7

 8 California, or even directed activities towards California. (R. Doc. 13, pg. 5, lines 26-

 9 28).
10
             The closest Plaintiff comes to Nowak having directed himself towards
11

12 California comes is an allegation that Nowak sent an alleged defamatory text to

13 Plaintiff and Plaintiff lived in California when he received the text.           In order to
14
     succeed on a defamation claim, Plaintiff must show that there was (1) a publication
15

16 that is (2) false, (3) defamatory, (4) unprivileged, and (5) has a natural tendency to

17 injure or causes special damage. Royal Holdings Techs. Corp. v. IP Video Mkt. Info,

18
     Inc. (9th Cir. Nov. 9, 2022, No. 21-55048) 2022 U.S. App. LEXIS 31022, at *2.
19
20 Plaintiff cannot satisfy the elements of defamation because the statement Nowak

21 allegedly made was not false, nor did it cause any injury or damage (if Plaintiff

22
     believed the text message caused damage, he certainly would not have attached it to
23

24 his Opposition Brief making it available in the public record). (R. Doc. 1-C, Exhibit

25 B). Plaintiff also does not provide evidence or even allege that the text message was

26
     sent to anyone in California besides himself. Therefore, Plaintiff has failed to show
27

28 publication in the state of California. Moreover, Plaintiff possessed several pieces of
                                                   4
                    REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS/TRANSFER
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 1 Cinamaker’s equipment and had yet to return them. (R. Doc. 12, pgs. 8 & 9). Thus,

 2
     calling Plaintiff a “thief” was not false, and instead was part of the reason for the First
 3

 4 Filed Action, i.e., Plaintiff’s failure to return company equipment after several

 5 demands to do so. As such, Nowak did not purposefully direct conduct towards

 6
     California because Plaintiff’s tort claim of defamation fails.
 7

 8           Regardless, this Court does not have general or specific jurisdiction over

 9 Nowak, as Nowak is not “at home” in California, nor did he purposefully direct
10
     conduct towards California.
11

12       III.       The First to File Rule Does Apply

13           Plaintiff first argues that the First to File Rule does not apply because the two
14
     actions are not substantially similar. It cannot be disputed that the claims in both
15

16 actions arise out of the Offer Memorandum. Cinamaker filed the First Filed Action

17 against Plaintiff because there exists a genuine dispute whether Plaintiff is entitled to

18
     cash or stock under the terms of the Offer Memorandum. The thrust of this action is
19
20 Plaintiff’s claim that he is entitled to nearly $700,000 as deferred compensation under

21 the Offer Memorandum. In the First Filed Action, Cinamaker’s position is that the

22
     deferred compensation accrued as stock warrants under the Offer Memorandum and
23

24 in the past practice of the parties. Therefore, the two actions are substantially similar

25 and the First to File Rule Applies.

26
             The Ninth Circuit has identified three special circumstances in which a court
27

28 may decline to apply the first-to-file rule: (1) when the first-filed suit was filed in bad
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 1 faith, (2) was anticipatory, or (3) was forum shopping. Alltrade, Inc. v. Uniweld

 2
     Prods., 946 F.2d 622 (9th Cir. 1991). Plaintiff argues that the “anticipatory suit
 3

 4 exception” applies. In making this argument, however, the Plaintiff misrepresents the

 5 facts. Plaintiff claims: “Plaintiff had prepared his lawsuit for filing but withheld the

 6
     filing to give Defendants time to consider a specific settlement demand. Instead of
 7

 8 responding to the settlement demand, Defendants initiated their case against Plaintiff

 9 in the Northern District of Georgia.”        (R. Doc. 13, p. 15) This is false. It was
10
     Cinamaker, not Plaintiff, who made a settlement offer on November 20, 2023, and
11

12 that demand specifically laid out Cinamaker’s position regarding the deferred

13 compensation. (See Exhibit 2 - Lewis Declaration and Exhibit A- Settlement Email).

14
     Plaintiff did not respond. Cinamaker followed up on the settlement offer (and its
15

16 pervious requests for the return of property) on November 28, 2023, and then

17 Plaintiff responded and made a settlement counter. Id. More importantly, Cinamaker

18
     made multiple requests for Plaintiff to return its property and even provided shipping
19
20 labels so it would not cost Plaintiff to do so. (See Exhibit B- Shipping Labels Emails)

21 The final demand was on November 30, 2023, two days after Plaintiff’s settlement

22
     response. (See Exhibit A) This final demand, like the others, was ignored and
23

24 Cinamaker filed the First Filed Action in Georgia. In fact, nearly a month passed by

25 between the time Cinamaker first demanded return of its property and the time of

26
     filing suit.
27

28
                                                   6
                    REPLY TO PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS/TRANSFER
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 1           Cinamaker did not file its complaint in the Northern District of Georgia in
 2
     anticipation of a lawsuit, but instead because it sought to retrieve its equipment from
 3

 4 Plaintiff, as well as to have the Court decide the parties’ rights under the Offer

 5 Memorandum, which are clearly in dispute. Therefore, the First to File Rule applies

 6
     and this case should be dismissed or transferred to the First Filed Action.
 7

 8       IV.        Conclusion

 9           Based on the foregoing, Defendants Cinamaker, Inc. and Benjamin Nowak
10
     respectfully requests that the Court grant its motion to dismiss and/or transfer venue
11

12 to the Northern District of Georgia.

13 DATED: January 26, 2024                            JONES WALKER, LLP
14
                                               By:     /s/ John W. Mills
15                                                    John W. Mills
16                                                    jmills@joneswalker.com
                                                      Attorney for Defendants CINAMAKER
17                                                    INC. and BENJAMIN NOWAK
18

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20

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 1   JOHN W. MILLS                                         JOSEPH F. LAVIGNE
     (CA State Bar No. 149861)                             (admitted pro hac vice)
 2   JONES WALKER, LLP                                     JONES WALKER LLP
 3   3455 PEACHTREE ROAD NE,                               201 ST. CHARLES AVE
     SUITE 1400                                            SUITE 4700
 4   ATLANTA, GA 30326                                     NEW ORLEANS, LA 70170
 5   TELEPHONE: 404-870-7517                               TELEPHONE: 504-582-8610
     FACSIMILE: 404-870-7533                               FACSIMILE: 504-589-8610
 6   jmills@joneswalker.com                                jlavigne@joneswalker.com
 7   ATTORNEY FOR DEFENDANTS

 8
 9                            UNITED STATES DISTRICT COURT

10                          CENTRAL DISTRICT OF CALIFORNIA

11
     GARY BAKER, AN INDIVIDUAL                     Case No. 2:23-cv-10611-FLA-AGR
12
13                                                 DECLARATION OF SIDNEY LEWIS
     PLAINTIFFS,
14                                                Date: February 9, 2024
15   VS.                                          Time: 1:30 pm
16                                                Ctrm: 6B
17   CINAMAKER, INC., A
     CORPORATION,                                  Complaint Filed: DECEMBER 11,
18   BENJAMIN NOWAK, AN                            2023
19   INDIVIDUAL, AND
     DOES 1 THROUGH 10, INCLUSIVE
20
21                              Defendants.
22
23           I, SIDNEY LEWIS, declare as follows:
24   1.      The facts stated below are true to the best of my knowledge, or, if stated on
25   belief, are facts I believe to be true. I am competent to testify to the following.
26   2.      The emails attached hereto as Exhibits A-Settlement Email and B-Shipping
27   Labels Email are true and correct copies of the emails between me and James H.
28   Cordes, Plaintiff’s counsel.
                                          1
                              DECLARATION OF SIDNEY LEWIS                                  EXHIBIT
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 1   3.      I emailed James H. Cordes on behalf of Cinamaker, Inc. and Benjamin Nowak.
 2   I declare under penalty of perjury of the laws of the United States that the foregoing is
 3   true and correct.
 4
 5   Dated January 26, 2024 at Atlanta, Georgia.
 6
 7
                                                          ____ _______________________
 8                                                        Sidney Lewis
 9
10
11
12
13
14
15
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                             DECLARATION OF SIDNEY LEWIS
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Pritchett, Emily

From:                              Lewis, Sidney
Sent:                              Thursday, November 30, 2023 9:58 AM
To:                                Benjamin Nowak; benjamin@cinamaker.net
Cc:                                Lavigne, Joseph
Subject:                           FW: [EXTERNAL] RE: Cinamaker / Gary Baker


Benjamin, see below. Joe and I will discuss whether we counter tomorrow or early next week with $75,000. If they don’t
return the equipment, we still may have the Georgia option.

Sidney F. Lewis | Partner
Jones Walker LLP
D: 504.582.8352
slewis@joneswalker.com

From: Lewis, Sidney
Sent: Thursday, November 30, 2023 9:56 AM
To: 'James Cordes' <jim@jamescordes.com>
Cc: 'Angelica Caro' <ajc@jamescordes.com>
Subject: RE: [EXTERNAL] RE: Cinamaker / Gary Baker

James, I have passed this on to my client and will respond shortly. Did you receive the packing slips to return the
equipment to Mr. Nowak? Thanks.


Sidney F. Lewis | Partner
Jones Walker LLP
D: 504.582.8352
slewis@joneswalker.com

From: James Cordes <jim@jamescordes.com>
Sent: Tuesday, November 28, 2023 4:38 PM
To: Lewis, Sidney <slewis@joneswalker.com>
Cc: 'Angelica Caro' <ajc@jamescordes.com>
Subject: [EXTERNAL] RE: Cinamaker / Gary Baker


Thank you for the reminder. We were just putting the response together. To remind you, Mr. Baker’s deferred salary
claim is $698,993.33 plus unpaid tax liability for 2018-2020 and 2022 was approximately $19,355 plus the current 2023
tax obligation was estimated at be an additional $12,000, for a total on the order of $732,000.

I do not represent Dennis Baker and my client Gary Baker does not speak for him. As to Gary Baker, he will accept the
following to resolve all his claims against Mr. Nowak personally as well as the company:

    1. 10% equity in the company to be memorialized in a mutually agreeable way,
    2. Payment to Gary Baker in the amount of $600,000.

Please let us know within a week if this is acceptable or if we should proceed to litigation. In the meantime, if you have
any questions, don't hesitate to call me.

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This e-mail may contain confidential and privileged material for the sole use of the intended recipient. Any review
or distribution by others is strictly prohibited. If you are not the intended recipient, please contact the sender and
delete this e-mail.

From: Pritchett, Emily <epritchett@joneswalker.com> On Behalf Of Lewis, Sidney
Sent: Tuesday, November 28, 2023 12:14 PM
To: jim@jamescordes.com
Cc: Lewis, Sidney <slewis@joneswalker.com>; 'Angelica Caro' <ajc@jamescordes.com>
Subject: RE: Cinamaker / Gary Baker

James, I am following up on our settlement offer last week, as well as the return of Cinamaker property. I look forward
to hearing from you.

Sidney F. Lewis | Partner
Jones Walker LLP
D: 504.582.8352
slewis@joneswalker.com


From: Pritchett, Emily On Behalf Of Lewis, Sidney
Sent: Monday, November 20, 2023 3:15 PM
To: 'James Cordes' <jim@jamescordes.com>
Cc: 'Angelica Caro' <ajc@jamescordes.com>; Lewis, Sidney <slewis@joneswalker.com>
Subject: Cinamaker / Gary Baker

James, this is in response to the threatened legal action against Cinamaker and Benjamin Nowak.

We have carefully reviewed the documents in question, as well as correspondence that we have internally. With regard
to the deferred compensation, the original offer letter on September 1, 2017, provided only for deferred compensation
in stock, which the company stands ready to issue.

Six months later, your client sent Mr. Nowak an “Offer Memorandum” (that he back-dated) which provided the option
to pay cash as the deferred comp assuming there was mutual agreement of the parties “at a later date.” It is clear there
was never any mutual agreement of the parties to pay cash.

Cinamaker is very close to shutting down due to lack of success. It is nearly impossible to raise money after seven years
with no success. The company also has over $5,250,000 in secured notes -- $250,000 of which is owed to Mr. Baker’s
brother with $5,000,000 in priority notes ahead of him. Therefore, even if Mr. Baker prevails in a lawsuit, there will be
no recovery from the company. There is also no reasonable chance of recovery against Mr. Nowak as the majority of his
assets are tied to the Company.


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With regard for the defamation claim, it was to Ukrainian individuals (who are fighting for their lives) in an internal chat
group, and follow-up communications between Mr. Nowak and those individuals completely undermine any defamation
claim. There have been no damages incurred by Mr. Baker over this communication that literally fell on deaf ears. Mr.
Baker will follow the same path as the company if there were to be a liability finding.

Mr. Baker’s chance to recover anything is now or never. Cinamaker has an investor who is willing to put up limited cash
solely in an effort to defend or resolve the potential lawsuit. Therefore, Cinamaker is willing to offer two options to
resolve this dispute:

1. Cinamaker will provide Mr. Baker with all documentation related to his granted phantom stock and deferred
   phantom stock, and an agreement will be reached with respect to the total amount of phantom stock and the terms
   and conditions related to payout of same; or
2. Cinamaker will make a one-time cash payment of $50,000.00 to settle any and all disputes between Cinamaker (and
   all of its shareholders, employees, etc.) and Gary Baker and Dennis Baker, which will expressly include all issues
   raised in the draft lawsuit, any claim to accrued phantom stock, and Dan Baker’s $250,000 of outstanding notes.

I look forward to hearing from you.

Sidney F. Lewis | Partner
Jones Walker LLP
D: 504.582.8352
slewis@joneswalker.com




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New Orleans, LA 70170
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Pritchett, Emily

From:                               Pritchett, Emily
Sent:                               Monday, November 20, 2023 8:19 AM
To:                                 James Cordes; 'Angelica Caro'
Cc:                                 Lewis, Sidney; Lavigne, Joseph
Subject:                            RE: [EXTERNAL] RE: Gary Baker
Attachments:                        label_pdf_11-17-2023.pdf


James, regarding the company property, can you please use the attached info to have it shipped today.

Thanks,
Emily

Emily A. Pritchett | Legal Assistant
Jones Walker LLP
D: 504.582.8447
epritchett@joneswalker.com

From: Lewis, Sidney
Sent: Friday, November 17, 2023 8:30 AM
To: 'James Cordes' <jim@jamescordes.com>; 'Angelica Caro' <ajc@jamescordes.com>
Subject: RE: [EXTERNAL] RE: Gary Baker

Thanks James, will get with my client and get you something early next week.

Sidney F. Lewis | Partner
Jones Walker LLP
D: 504.582.8352
slewis@joneswalker.com
From: James Cordes <jim@jamescordes.com>
Sent: Thursday, November 16, 2023 11:49 AM
To: Lewis, Sidney <slewis@joneswalker.com>; 'Angelica Caro' <ajc@jamescordes.com>
Subject: RE: [EXTERNAL] RE: Gary Baker

We don’t have access to Mr. Baker’s email or files so we can’t confirm what has and hasn't been paid. If you could
provide some backup that would help.

As to returning materials, we have about three banker’s boxes worth of the stuff you identified. What should we do with
it? I propose sending us some prepaid shipping labels for three banker’s boxes and we can return it that way.

There is a new tax bill that is your client’s responsibility, see attached.

Finally, I had told you I would reach out before we file a lawsuit. We are at that point. We will have to file the lawsuit
early next week unless we get a realistic and good faith proposal to address Mr. Baker’s claims. Are you authorized to
accept service of process or will formal service be necessary?

Thanks in advance and feel free to contact me with any questions or concerns.

James H. Cordes, Esq.
James H. Cordes and Associates
                                                                                                               EXHIBIT
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831 State Street, Suite 205
Santa Barbara, CA 93101
(805) 965-6800
Fax (805) 965-5556
www.jamescordes.com
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distribution by others is strictly prohibited. If you are not the intended recipient, please contact the sender and delete
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From: Pritchett, Emily <epritchett@joneswalker.com> On Behalf Of Lewis, Sidney
Sent: Friday, November 10, 2023 12:20 PM
To: 'James Cordes' <jim@jamescordes.com>; 'Angelica Caro' <ajc@jamescordes.com>
Cc: Lewis, Sidney <slewis@joneswalker.com>
Subject: RE: [EXTERNAL] RE: Gary Baker

James, one of the first things I would like to address is Mr. Baker’s expense report. Mr. Nowak indicates that expenses
noted for April 24, May 1 and May 8, were submitted in Mr. Baker’s last report and paid, which would remove
$1,269.96. Let me know if Mr. Baker concurs.

On the other hand, Mr. Baker currently has the following company equipment: 1) 16 in. MacBook Pro (2022 model); 2)
four Canon camcorders and accessories; 3) six miscellaneous iPhones; 4) a digital audio interface; and 5) ethernet
network hardware.

There may be additional equipment as we are still conducting inventory. Can you please let me know whether Mr. Baker
intends to return these items to Mr. Nowak? I look forward to hearing from you.


Sidney F. Lewis | Partner
Jones Walker LLP
D: 504.582.8352
slewis@joneswalker.com


From: Lewis, Sidney
Sent: Wednesday, November 8, 2023 1:42 PM
To: James Cordes <jim@jamescordes.com>
Cc: 'Angelica Caro' <ajc@jamescordes.com>
Subject: RE: [EXTERNAL] RE: Gary Baker

Thanks James, I will look through this and get with Mr. Nowak.

Sidney F. Lewis | Partner
Jones Walker LLP
D: 504.582.8352
slewis@joneswalker.com
From: James Cordes <jim@jamescordes.com>
Sent: Tuesday, November 7, 2023 6:23 PM
To: Lewis, Sidney <slewis@joneswalker.com>
Cc: 'Angelica Caro' <ajc@jamescordes.com>
Subject: [EXTERNAL] RE: Gary Baker

Thank you for contacting me. Attached is the lawsuit that we will file in the absence of any forward progress. I know you
are newly to this matter, but your client has been on notice for about a month and half now. Please also note that the
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vast majority of the claims implicate Mr. Nowak’s personal liability, and we are confident that as he is an alter ego of the
corporation, we could reach his personal assets on all claims if necessary.

Also, separate and apart from everything else, Mr. Baker has some final expenses to be reimbursed. Please see attached.

If you have any questions, please contact me.

James H. Cordes, Esq.
James H. Cordes and Associates
831 State Street, Suite 205
Santa Barbara, CA 93101
(805) 965-6800
Fax (805) 965-5556
www.jamescordes.com
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From: Pritchett, Emily <epritchett@joneswalker.com> On Behalf Of Lewis, Sidney
Sent: Tuesday, November 7, 2023 11:18 AM
To: jim@jamescordes.com
Cc: Lewis, Sidney <slewis@joneswalker.com>
Subject: Gary Baker

Jim, I am assisting Benjamin Nowak with regard to the above-referenced matter. Please give me a call at your earliest
convenience. Thank you.

Sidney F. Lewis | Partner
Jones Walker LLP
D: 504.582.8352
slewis@joneswalker.com




Jones Walker LLP
201 St. Charles Ave, Ste 5100
New Orleans, LA 70170
joneswalker.com




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2. Adhere shipping label to package with tape or glue - DO
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   NOT TAPE OVER BARCODE. Be sure all edges are secure.
   Self-adhesive label is recommended.                                                                                                                                                   Total:                                                                                                                                   $48.17

3. Place label so that it does not wrap around the edge of
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   the package.                                                                                                         BENJAMIN NOWAK
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4. Each shipping label number is unique and can be used                                                                 ATLANTA GA 30305-1426
   only once - DO NOT PHOTOCOPY.

5. Please use this shipping label on the "ship date"                                                        To:
   selected when you requested the label.                                                                               CINAMAKER, INC.
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6. If a mailing receipt is required, present the article and                                                            3512 PRESERVE DR SE
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   Online e-Label Record at a Post Office for postmark.

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   Self-adhesive label is recommended.                                                                                                                                                   Total:                                                                                                                                   $48.17

3. Place label so that it does not wrap around the edge of
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4. Each shipping label number is unique and can be used                                                                 ATLANTA GA 30305-1426
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5. Please use this shipping label on the "ship date"                                                        To:
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6. If a mailing receipt is required, present the article and                                                            3512 PRESERVE DR SE
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   NOT TAPE OVER BARCODE. Be sure all edges are secure.
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4. Each shipping label number is unique and can be used                                                                 ATLANTA GA 30305-1426
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6. If a mailing receipt is required, present the article and                                                            3512 PRESERVE DR SE
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A. Mailer Action

Note To Mailer: The labels and volumes associated to                                                     11/17/23
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this form online must match the labeled packages being                                    Shipped From:
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presented to the USPS employee with this form.
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                       USPS Ground Advantage™                                                                3

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B. USPS Action


                                           USPS EMPLOYEE: Please scan upon pickup or receipt of mail.
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